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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA,                  )
                                           )
vs.                                        )      Case Number: CR 05-S-543-S
                                           )
JEWELL C. “CHRIS” McNAIR,                  )
SOHAN P. SINGH,                            )
EDWARD T. KEY, JR., and                    )
US INFRASTRUCTURE, INC.                    )

                                       ORDER

      This matter is before the court on the motion by defendant Edward T. Key, Jr.,

to suppress certain statements he made to investigators on July 7, 2005 (doc. no. 307

in Case No. 2:05-cr-61-RBP-TMP), and with respect to the allegation by defendants

Key, Sohan P. Singh, and US Infrastructure, Inc. (“USI”), that the Government

abused the grand jury process by using the grand jury to gather evidence for trial after

a charge had been returned against defendants (doc. nos. 374 and 635 in Case No.

2:05-cr-61-RBP-TMP); and motions by the USI defendants to dismiss counts 73, 74,

and 88 of the Second Superseding Indictment due to the Government’s failure to

comply with the court’s order to file a bill of particulars (doc. no. 80 in Case No.

2:05-cr-543-CLS-TMP) and to dismiss counts 38, 39, 40, 43, 46, and 49 of the

Second Superseding Indictment for failure to present evidence to the grand jury to

support probable cause (doc. no. 564 in Case No. 2:05-cr-61-RBP-TMP). The
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Magistrate Judge filed a report and recommendation recommending that the motions

be denied.1 Defendants timely filed objections to the report and recommendation.2

Upon consideration of the arguments presented by counsel and the report and

recommendation of the Magistrate Judge, this court accepts the Magistrate Judge’s

recommendation that defendants’ motions be denied, and the motions hereby are

DENIED.

      DONE this 1st day of November, 2006.




                                            ______________________________
                                            United States District Judge




      1
          See doc. no. 90.
      2
          See doc. no. 97.

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